             Case 18-36881 Document 3-1 Filed in TXSB on 12/05/18 Page 1 of 3



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                 §
    In re:                                                       §
                                                                 §     Joint Administration Pending Under
     L REIT, LTD., et al                                         §     Case No. (18-36881-H2-11)
                                     Debtors. 1                  §
                                                                 §


                              ORDER GRANTING COMPLEX
                        CHAPTER 11 BANKRUPTCY CASE TREATMENT

       These bankruptcy cases were filed on December 5, 2018. A Notice of Designation as
Complex Chapter 11 Cases was filed. After review of the initial pleadings filed in these cases, the
Court concludes that these cases appear to be complex chapter 11 cases. Accordingly, unless the
Court orders otherwise,

IT IS ORDERED:
         1.     The Debtors shall maintain a consolidated master service list (the "Master Service
List") identifying the parties that must be served whenever a motion or other pleading requires
notice. Unless otherwise required by the Bankruptcy Code or Rules, notices of motions and other
matters will be limited to the parties on the Master Service List. The Master Service List shall
initially include (a) the Office of the United States Trustee for the Southern District of Texas, (b)
the Debtor, (c) the attorneys for the Debtors, (d) the Debtors’ pre- and any post-petition secured
lenders; (e) each Debtors’ twenty (20) largest unsecured creditors, (f) those persons who have
formally appeared in the chapter 11 case and requested service pursuant to Bankruptcy Rule 2002,
and (g) all applicable government agencies to the extent required by the Bankruptcy Rules and the
Local Rules. Any party in interest that wishes to receive notice, other than as listed on the Master
Service List, shall be added to the Master Service List by filing with the Court, and serving the
Debtors and Debtors’ Counsel with a notice of appearance and request for service.

                  a.      Parties on the Master Service List, who have not otherwise consented to
                  service by e-mail, through the act of becoming a registered e-filer in this District,
                  are encouraged to provide an e-mail address for service of process and to authorize
                  service by e-mail; consent to e-mail service may be included in the party's notice
                  of appearance and request for service; in the event a party has not consented to
                  email service, copy of pleadings and documents shall be served by fax or by regular
                  mail.



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
are L Reit, Ltd (3481) and Beltway 7 Properties, Ltd (2869). The location of the Debtors’ service address is:7904 North
Sam Houston Parkway West, Houston, TX 77064.


{851325/00001/01276041.DOCX 1 }
          Case 18-36881 Document 3-1 Filed in TXSB on 12/05/18 Page 2 of 3



                  b.       The initial Master Service List shall be filed within three (3) days after
                  entry of this order. A revised Master Service List shall be filed seven (7) days after
                  the initial Master Service List is filed. The Debtors shall update the Master Service
                  List, and shall file a copy of the updated Master Service List, (i) at least every seven
                  (7) days during the first thirty (30) days of the case; (ii) at least every fifteen (15)
                  days during the next sixty (60) days of the case; and (iii) at least every thirty (30)
                  days thereafter throughout the case.

        2.      The Court sets ____________________________of [every other week] every
week commencing [Month and Day] [each month] at_________ am/pm as the pre-set hearing day
and time for hearing all motions and other matters in this case. The Court sets the following dates
and times for the next two (2) months as the pre-set hearing date and time for hearing all motions
and other matters in this case:______________________________ . Settings for the following
months will be published by the Court no later than thirty (30) days prior to the first hearing date
in the said following months. (There may be exceptions; those exceptions will be noted on the
Court's internet schedule, available at www.txsb.uscourts.gov.)

                  a.       All motions and other matters requiring hearing, but not requiring expedited
                           or emergency hearing, shall be noticed for hearing, on the next hearing day
                           that is at least twenty-three (23) days after the notice is mailed. As a preface,
                           to each pleading, just below the case caption,[in lieu of the language
                           required by any Local Bankruptcy Rule] the pleading shall state:

                           A HEARING WILL BE CONDUCTED ON THIS MATTER ON
                           _____________________AT AM/PM IN COURTROOM 400, 4th
                           FLOOR, UNITED STATES BANKRUPTCY COURT FOR THE
                           SOUTHERN DISTRICT OF TEXAS, 515 RUSK AVENUE,
                           HOUSTON, TX 77002. IF YOU OBJECT TO THE RELIEF
                           REQUESTED,      YOU    MUST  RESPOND  IN WRITING,
                           SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
                           PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT,
                           YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
                           BANKRUPTCY COURT WITHIN 21 DAYS FROM THE DATE
                           YOU WERE SERVED WITH THIS PLEADING. YOU MUST
                           SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO
                           SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY
                           TREAT THE PLEADING AS UNOPPOSED AND GRANT THE
                           RELIEF REQUESTED.

                  b.       All motions and other matters requiring expedited or emergency hearing
                           shall comply with the usual Court requirements for explanation and
                           verification of the need for emergency or expedited hearing. Specifically, if
                           a party in interest has a situation that it believes requires consideration on
                           less than twenty-three (23) days' notice, or an emergency that it believes
                           requires consideration on less than five (5) business days' notice, then the
                           party should file and serve a separate, written motion for expedited hearing,



{851325/00001/01276041.DOCX 1 }
          Case 18-36881 Document 3-1 Filed in TXSB on 12/05/18 Page 3 of 3



                           with respect to the underlying motion. The court will make its best effort to
                           rule on the motion for expedited or emergency hearing within twenty-four
                           (24) hours of the time it is presented. If the court grants the motion for
                           expedited or emergency hearing, the underlying motion will be set by the
                           courtroom deputy at the next available pre-set hearing day or at some other
                           appropriate shortened date approved by the Court. The party requesting the
                           hearing shall be responsible for providing proper notice in accordance with
                           this order and the Bankruptcy Code and Rules.

        3.     Emergency and expedited hearings (and other hearings in limited circumstances)
in this case may be conducted by telephone or, where available, video. Parties must request
permission to participate by telephone by calling the Case Manager, Mr. Albert Alonzo, at (713)
250-5467.

        4.      If a matter is properly noticed for hearing and the parties reach a settlement of the
dispute prior to the final hearing, the parties may announce the settlement at the scheduled hearing.
If the Court determines that the notice of the dispute and the hearing is adequate notice of the
effects of the settlement, (i.e., that the terms of the settlement are not materially different from
what parties in interest could have expected if the dispute were fully litigated) the Court may
approve the settlement at the hearing without further notice of the terms of the settlement.

        5.     The Debtors shall give notice of this order to all parties in interest within seven (7)
days. If any party in interest, at any time, objects to the provisions of this order, that party shall
file a motion articulating the objection and the relief requested. After hearing the objection and
any responses the court may reconsider any part of this order and may grant relief, if appropriate.




 Dated:                   , 2018
 Houston, Texas                           DAVID R JONES
                                          CHIEF UNITED STATES BANKRUPTCY JUDGE




{851325/00001/01276041.DOCX 1 }
